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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                  )
NATIONAL RIFLE ASSOCIATION OF                     )
AMERICA POLITICAL VICTORY                         )
FUND, et al.,                                     )       Civ. No. 22-1017
                                                  )
               Plaintiffs,                        )
                                                  )
               v.                                 )
                                                  )
FEDERAL ELECTION COMMISSION,                      )       JOINT STATUS REPORT
                                                  )
               Defendant.                         )
                                                  )

                                   JOINT STATUS REPORT

       Pursuant to this Court’s Minute Order dated December 12, 2022, the parties file this joint

status report. This is an action brought under the Freedom of Information Act (“FOIA”) seeking,

among other information, records related to administrative matters before the Federal Election

Commission (“FEC”). The FEC has produced some records and withheld material pursuant to

certain FOIA Exemptions.

       The remaining portion of this case involves approximately 3,100 email files, estimated to

be approximately 30,000 pages of material, with FOIA Exemption 5 at issue. The parties

disagree as to the level of specificity required to invoke the privilege(s) that underlie FOIA

Exemption 5.

       On February 24, 2023, the FEC provided the plaintiffs with the information described in

the status report filed on February 13, 2023 (Docket No. 26), specifically an index of a sample of

withheld items to assist Plaintiffs in evaluating the FEC’s exemption claims. Plaintiffs are in the

process of evaluating the above-referenced index, and the parties will continue conferring and

working on narrowing areas of disagreement to facilitate a resolution of this case.
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       Pursuant to the Minute Order of December 12, 2022, the parties will provide the Court

with a further joint status report on April 13, 2023. (See Minute Order of December 12, 2022).

                       Respectfully submitted,

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                                                     March 14, 2023




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